Case 1:24-cv-00371-OEM-LB                Document 10          Filed 02/27/24   Page 1 of 7 PageID #: 38




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------------X
 YVROSE JEAN,
                                                                     REPORT & RECOMMENDATION
                           Plaintiff,                                     24 CV 371 (OEM)(LB)
         -against-

 HOME DEPOT U.S.A., INC,

                            Defendant.
 ----------------------------------------------------------------X
 BLOOM, United States Magistrate Judge:

         Defendant Home Depot U.S.A., Inc. removed this personal injury action from Kings

 County Supreme Court on January 18, 2024, invoking this Court’s diversity jurisdiction under 28

 U.S.C. § 1332. The Court ordered defendant to show good cause why this matter should not be

 remanded to state court. See ECF Order dated January 19, 2024. Defendant responded to the Order

 to Show Cause on January 26, 2024. ECF No. 8. For the reasons set forth below, it is respectfully

 recommended pursuant to 28 U.S.C § 636(b) that the Court should remand this action to state court

 for lack of subject matter jurisdiction and untimely removal.

                                               BACKGROUND

         Plaintiff filed the instant action in Kings County Supreme Court on December 11, 2023.

 ECF No. 1 ¶ 1. Plaintiff alleges he was injured on April 9, 2022 when he fell in a Home Depot in

 Brooklyn, New York. ECF No. 1-1. Consistent with New York law, plaintiff’s complaint does not

 specify the sum of damages sought. N.Y.C.P.L.R. 3017 § (c) (“In an action to recover damages

 for personal injuries . . . the complaint . . . shall contain a prayer for general relief but shall not

 state the amount of damages to which the pleader deems himself entitled.”).

         On January 18, 2024, defendant removed plaintiff’s action to this Court, invoking federal

 diversity jurisdiction. ECF No. 1 at 1. In the notice of removal, defendant asserts that the parties



                                                         1
Case 1:24-cv-00371-OEM-LB          Document 10        Filed 02/27/24      Page 2 of 7 PageID #: 39




 are citizens of different states, id. ¶¶ 8-10, and that the amount in controversy exceeds $75,000

 because plaintiff alleges that she suffered a serious and permanent injury, id. ¶ 12, and because

 plaintiff’s counsel made a settlement demand of $550,000 during a mediation and later confirmed

 the demand. Id. ¶ 13. Defendant’s notice of removal does not state whether the settlement demand

 or subsequent confirmation were made in writing.

        On January 19, 2024, the Court issued an Order to Show Cause why this case should not

 be remanded to state court for lack of subject matter jurisdiction. The Court sua sponte raised two

 defects with defendant’s notice of removal: defendants may not rely on the nature of plaintiff’s

 injuries to establish the amount in controversy, and an oral settlement demand is not a sufficient

 basis for removal under 28 U.S.C. § 1446(b). See ECF Order dated January 19, 2024. Defendant

 responded to the Order to Show Cause on January 26, 2024. ECF No. 8. Defendant asserts that

 plaintiff’s verbal settlement demand and refusal to cap damages are sufficient to establish that the

 amount in controversy exceeds $75,000. Id. at 1. In the alternative, if the Court determines that

 removal was premature, defendant requests that the Court remand this action without prejudice to

 renewal “once a written confirmation of the amount in controversy is received.” Id. at 3.

                                           DISCUSSION

        A defendant may remove to a federal district court “any civil action brought in a State court

 of which the district courts of the United States have original jurisdiction.” 28 U.S.C. § 1441(a).

 Federal district courts have original jurisdiction over “all civil actions where the matter in

 controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is between

 citizens of different States.” 42 U.S.C. § 1332(a). A defendant removing a matter to federal court

 bears "the burden of establishing that the requirements for diversity jurisdiction [are] met."

 Mehlenbacher v. Akzo Nobel Salt, Inc., 216 F.3d 291, 296 (2d Cir. 2000). Federal courts must



                                                  2
Case 1:24-cv-00371-OEM-LB           Document 10        Filed 02/27/24      Page 3 of 7 PageID #: 40




 “construe the removal statute narrowly, resolving any doubts against removability.” Lupo v. Hum.

 Affs. Int'l, Inc., 28 F.3d 269, 274 (2d Cir. 1994) (quoting Somlyo v. J. Lu-Rob Enters., Inc., 932

 F.2d 1043, 1045-46 (2d Cir. 1991)).

        On removal, a defendant must prove to a reasonable probability that the amount in

 controversy exceeds $75,000, as required by 28 U.S.C. § 1332(a). Mehlenbacher, 216 F.3d at 296.

 If plaintiff’s complaint does not allege this jurisdictional amount, and “defendants' notice of

 removal fails to allege facts adequate to establish that the amount in controversy exceeds the

 jurisdictional amount, federal courts lack diversity jurisdiction as a basis for removing the

 plaintiff’s action from state court.” Lupo., 28 F.3d 269 at 273-74.

        Plaintiff’s complaint does not quantify the damages sought. See ECF No. 1-1. Nonetheless,

 defendant alleges that the amount in controversy “must” exceed $75,000 because plaintiff alleges

 serious and permanent injuries. ECF No. 1 ¶ 12. However, the nature or extent of plaintiff’s injuries

 does not establish the amount in controversy requirement. See Sabino v. Otis Elevator Co., 548 F.

 Supp. 3d 311, 312 (E.D.N.Y. 2021) (“A serious injury does not require more than $75,000 in

 damages, so it does not establish the amount in controversy.”); see also O'Neill v. Target Corp.,

 No. 21-CV-3262, 2021 WL 2634880, at *2 (E.D.N.Y. June 25, 2021) (holding that the Court “can

 draw no reasonable, non-speculative conclusion about the amount in controversy” from a list of

 alleged injuries); King v. Romero, No. 22-CV-10935, 2022 WL 18009943, at *2 (S.D.N.Y. Dec.

 30, 2022) (holding that bill of particulars that “discloses that Plaintiff has undergone multiple

 spinal surgeries” fails to establish “jurisdictional threshold” for removal to a “reasonable

 probability”). Plaintiff’s verbal settlement demand and refusal to cap damages at less than $75,000

 similarly do not establish to a reasonable probability that the amount in controversy requirement

 is satisfied. Settlement demands are not “reliable indicators of the amount in controversy,”



                                                  3
Case 1:24-cv-00371-OEM-LB            Document 10        Filed 02/27/24       Page 4 of 7 PageID #: 41




 particularly where the notice of removal provides no information regarding the context of the

 settlement demand, or how plaintiff arrived at the sum demanded, as is the case here. Elzoghary

 v. Zelaya-Monge, No. 23-CV-5353, 2023 WL 6121800, at *2 (E.D.N.Y. Sept. 19, 2023) (citation

 and quotations omitted). Moreover, “the refusal to stipulate to damages does not lead necessarily

 to the reasonable inference that the jurisdictional amount is met.” Zhang v. Costco Wholesale

 Corp., No. 22-CV-7188, 2023 WL 2306021, at *2 (E.D.N.Y. Mar. 1, 2023). As such, defendant’s

 notice of removal does not allege sufficient facts to establish that the amount in controversy

 exceeds $75,000, and the Court lacks subject matter jurisdiction over this action.

        Removal was also untimely here. Pursuant to 28 U.S.C. § 1446(b), a defendant must file a

 notice of removal within 30 days after receiving an initial pleading or, if that initial pleading is not

 removable, within 30 days after receiving a “copy of an amended pleading, motion, order or other

 paper from which it may first be ascertained that the case is one which is or has become

 removable.” 28 U.S.C. § 1446(b)(3).

        Defendant removed this action after plaintiff made an oral settlement demand of $550,000.

 ECF No. 1 ¶ 13; ECF No. 8 at 1. However, it is well-settled in the Second Circuit that the 30-day

 removal clock “does not start to run until the plaintiff serves the defendant with a paper that

 explicitly specifies the amount of monetary damages sought.” Moltner v. Starbucks Coffee Co.,

 624 F.3d 34, 38 (2d Cir. 2010). A verbal demand is not a paper. Consistent with the bright-line

 rule announced in Moltner, district courts in this circuit have repeatedly held that “an oral

 settlement demand is not a sufficient basis for removal.” Mitilinios v. Costco Wholesale Corp.,

 No. 17-CV-5306, 2018 WL 941715, at *4 (E.D.N.Y. Jan. 31, 2018); see also Hogue v. BJ's

 Wholesale Club, Inc., No. 22-CV-4829, 2022 WL 2256291, at *2 (S.D.N.Y. June 23, 2022)

 (collecting cases).



                                                    4
Case 1:24-cv-00371-OEM-LB                 Document 10           Filed 02/27/24         Page 5 of 7 PageID #: 42




          Defendant cites case law that does not change the Court’s analysis. Defendant asserts that

 consistent with the Second Circuit’s holding in Yong Quin Luo v. Mikel, 625 F.3d 772, 775-76

 (2d Cir. 2010), a defendant may rely on an oral settlement demand to establish the amount in

 controversy. Id. at 1-2. The Second Circuit’s opinion in Yong Quin Lou was issued three months

 prior to Moltner and does not address the 30-day time limit set forth in 28 U.S.C. § 1446(b)(3).

 Nor does the opinion suggest that an oral settlement demand is a “paper” that triggers the 30-day

 removal period.1 See Bader v. Costco Wholesale Corp., No. 18-CV-1304, 2018 WL 6338774, at

 *1 (E.D.N.Y. Dec. 4, 2018) (“Yong Qin Luo had nothing to do with whether removal was

 timely[.]”).

          The weight of case law in this circuit, including the Second Circuit’s holding in Moltner,

 recognizes than an oral settlement demand is not a sufficient basis for removal to federal court.

 See, e.g., Hogue v. BJ's Wholesale Club, Inc., No. 22-CV-4829, 2022 WL 2256291, at *2

 (S.D.N.Y. June 23, 2022) ("District courts in this circuit... have held that an oral settlement demand

 is not a sufficient basis for removal") (citation omitted); Johnson v. Home Depot U.S.A., Inc., No.

 19-CV-3476, 2019 WL 5287969, at *2 (E.D.N.Y. Oct. 18, 2019) (“[H]ad Defendant removed the

 case based solely on an oral demand, it would have been subject to remand as prematurely filed.”);



 1
   In Yong Qin Luo, subject matter jurisdiction was raised for the first time on appeal, as plaintiff had reduced her
 settlement demand to less than $75,000 to deprive the Court of subject matter jurisdiction on appeal. Id. at 776. The
 Court found that subject matter jurisdiction existed at the time of removal based on plaintiff’s refusal to limit her
 damages to less than $75,000 during an initial conference and her subsequent oral settlement demand of $600,000.
 Id. at 775-776. As the amount in controversy requirement was satisfied at the time of removal, plaintiff could not
 “seek to deprive a federal court of jurisdiction by reducing her demand to $75,000 or less once the jurisdictional
 threshold has been satisfied.” Id. at 776.

 Defendant further cites two district court opinions denying motions to remand pursuant to Yong Quin Lou. Neither
 case suggests that an oral settlement demand is sufficient to trigger the removal clock. See Homer v. GMAC Mortg.,
 LLC, No. 10-CV-1937, 2011 WL 3859719, at *3 (D. Conn. Aug. 31, 2011) (calculating removal period to begin
 when state court complaint was filed); Sutraban v. Worsley, No. 22-CV-5293, 2023 WL 2742236, at *4 (E.D.N.Y.
 Mar. 30, 2023) (finding that statements made on the record in a court conference were sufficient to satisfy the
 amount in controversy requirement but noting that plaintiff “did not trigger the removal clock” by serving
 defendants with a paper specifying the damages sought).

                                                           5
Case 1:24-cv-00371-OEM-LB                 Document 10           Filed 02/27/24          Page 6 of 7 PageID #: 43




 Feder v. Costco Wholesale Corp., No. 17-CV-3708, 2017 WL 9511082, at *1 (E.D.N.Y. June 27,

 2017), report and recommendation adopted by, 2017 WL 2992490 (E.D.N.Y. July 14, 2017);

 Quintana v. Werner Enterprises, Inc., No. 09-CV-7771, 2009 WL 3756334, at *1 (S.D.N.Y. Nov.

 2, 2009) (“[Section 1446(b)]” does not recognize oral settlement demands as a basis for triggering

 the 30-day removal window.”).

          Defendant should have used the mechanisms available under state law to ascertain the

 amount in controversy before removing this action. See N.Y.C.P.L.R § 3017(c) (allowing a

 defendant to request a supplemental demand from plaintiff setting forth the total damages that

 plaintiff seeks). Had they done so, defendant “may have been in a position . . . to meet their burden

 on removal.” Abbas v. Kienzler, No. 10-CV-5100, 2010 WL 5441663, at *2 (E.D.N.Y. Dec. 23,

 2010).

          Defendant’s notice of removal does not establish to a reasonable probability that the

 amount in controversy exceeds $75,000, and defendant removed this action before receiving a

 written confirmation of the amount in controversy. Therefore, it is respectfully recommended that

 the action should be remanded to the Supreme Court of the State of New York, Kings County

 pursuant to 26 U.S.C. § 1447(c) for lack of subject matter as well as untimely removal.2




 2
   A district court may sua sponte remand an action for lack of subject matter jurisdiction at any time. 28 U.S.C. §
 1447(c). A motion to remand on the basis of a procedural defect “must be made within 30 days after filing of the
 notice of removal.” Id. This 30-day time limit “applies to sua sponte actions of the court, and not just to motions
 brought on by parties.” Cassara v. Ralston, 832 F. Supp. 752, 753 (S.D.N.Y. 1993). The Second Circuit has interpreted
 Section 1447(c) to authorize a remand for a procedural defect “asserted” within 30 days of the notice of removal.
 Mitskovski v. Buffalo & Fort Erie Pub. Bridge Auth., 435 F.3d 127, 131 (2d Cir. 2006). Here, the Court raised the
 procedural defects sua sponte in its Order to Show Cause issued one day after defendant filed its notice of removal.
 See ECF Order dated January 19, 2024. As such, the Court timely raised the procedural defect of defendant’s
 premature removal. See JP Morgan Chase Bank, N.A. v. Caires, 768 F. App'x 73, 75 (2d Cir. 2019) (concluding that
 district court timely raised procedural defect within 30 days of removal where district court ordered defendant to show
 cause why his case should not be remanded one day after the notice of removal was filed, even though the remand
 was effectuated more than 30 days after the notice of removal).

                                                           6
Case 1:24-cv-00371-OEM-LB          Document 10       Filed 02/27/24      Page 7 of 7 PageID #: 44




            FILING OF OBJECTIONS TO REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b)(1) and Rule 72(b)(2) of the Federal Rules of Civil

 Procedure, the parties shall have fourteen (14) days from service of this Report to file written

 objections. See also Fed. R. Civ. P. 6. Such objections (and any responses to objections) shall be

 filed with the Clerk of the Court. Any request for an extension of time to file objections must be

 made within the fourteen-day period. Failure to file a timely objection to this Report generally

 waives any further judicial review. Marcella v. Capital Dist. Physicians’ Health Plan, Inc., 293

 F.3d 42, 46 (2d Cir. 2002); Small v. Sec’y of Health & Human Servs., 892 F.2d 15, 16 (2d Cir.

 1989); see Thomas v. Arn, 474 U.S. 140 (1985).

 SO ORDERED.

                                                                           /S/
                                                             LOIS BLOOM
                                                             United States Magistrate Judge

 Dated: February 27, 2024
        Brooklyn, New York




                                                 7
